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                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

           CHAMBERS OF                                                   MARTIN LUTHER KING
         ESTHER SALAS                                                       COURTHOUSE
   UNITED STATES DISTRICT JUDGE                                             50 WALNUT ST.
                                                                              ROOM 2037
                                                                          NEWARK, NJ 07101
                                                                              973-297-4887


                                          April 30, 2018


                                        LETTER ORDER

       Re:      Boyle v. Toyota Financial Services, et al.
                Civil Action No. 17-10730 (ES) (SCM)

Dear Counsel:

        Pending before the Court is Defendant Toyota Motor Credit Corporation’s (“Defendant”)
motion to (i) dismiss Plaintiff Christine A. Boyle’s (“Plaintiff”) class action claims; (ii) compel
arbitration of Plaintiff’s individual claims; and (iii) stay this litigation pending the outcome of
arbitration. (D.E. No. 6). On April 29, 2018, Plaintiff submitted a letter stating that Plaintiff “no
longer opposes the motion to compel arbitration and thus withdraws all opposition to [Defendant’s]
motion to compel arbitration.” (D.E. No. 24). Plaintiff requests that the Court “enter an order
dismissing the case and requiring arbitration pursuant to the arbitration agreement.” (Id.).
Accordingly,

       IT IS on this 30th day of April 2018,

       ORDERED that Defendant’s unopposed motion is GRANTED; and it is further

       ORDERED that Plaintiff’s claims in this action shall be referred to arbitration for
proceedings consistent with the parties’ arbitration agreement; and it is further

       ORDERED that the Clerk of Court shall mark this matter CLOSED.


                                                      s/Esther Salas
                                                      Esther Salas, U.S.D.J.
